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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                           CIVIL ACTION NO. 00-10981-RWZ


                                 DONNELL THOMPSON

                                             v.

                      CORRECTION OFFICER WILLIAM TORRES


                                       ORDER
                                   November 29, 2010

ZOBEL, D.J.

       Plaintiff moves for an award of attorney’s fees under 42 U.S.C. § 1988, as the

prevailing party in a 42 U.S.C. § 1983 lawsuit in which he recovered a total of $175,001

in actual and punitive damages. (Docket # 397.) An award of attorney’s fees is

calculated using the lodestar analysis which requires the court to multiply the number

of hours productively spent by a reasonable hourly rate. DeJesus Nazario v. Morris

Rodriguez, 554 F.3d 196, 207 (1st Cir. 2009).

I.     Compensable Hours

       Plaintiff submitted billing records for 143.55 hours of work. Defendants raise

numerous objections to the billing records and certain specific claims.

       First, defendant argues that plaintiff should not be reimbursed for time spent

appealing the judgment. The court agrees. Plaintiff failed to file an opening brief with

the court of appeals and his appeal was dismissed for lack of prosecution. (Docket

# 564.) Accordingly, he is not entitled to an award of fees for the billing entries of
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8/18/2009, 8/20/2009, 8/25/2009, 9/3/2009, 9/29/2009, 1/11/2010, 1/24/2010,

1/26/2010, 1/27/2010, 6/2/2010, and 6/4/2010, nor the $425 appellate court filing fee.

       Second, defendant argues that plaintiff should not be reimbursed for time spent

on an earlier motion for fees which the court dismissed because it was based on a

contingent fee agreement. (Docket Entry 9/17/09.) Because that motion used an

improper measure, plaintiff is not entitled to an award of fees for time spent to produce

it, namely the 8/27/2009, 9/14/2009, and 9/17/2009 entries in plaintiff’s billing records.

       Finally, the 7.25 hours of time spent drafting a reply to defendant’s opposition to

this motion for fees is excessive. The reply contains four pages of generously spaced

text with minimal citations of law or relevant fact. Plaintiff may recover fees for four

hours of work by counsel, which is a reasonable amount of time in which to have

completed the reply brief.

II.    Hourly Rate

       As plaintiff was a prisoner at the time he filed this lawsuit, his recovery of

attorney’s fees is limited by the Prison Litigation Reform Act (“PLRA”). “No award of

attorney’s fees in an action [brought by a prisoner] shall be based on an hourly rate

greater than 150 percent of the hourly rate established under section 3006A of title 18

for payment of court-appointed counsel.” 42 U.S.C. § 1997e(d)(3). Therefore, the

PLRA maximum rates applicable to plaintiff’s fee request vary from $75 for the work

performed in 2000 to $187.50 for the work performed in 2010. The court finds that

these maximum rates are reasonable.




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       Plaintiff argues that the limitation in 42 U.S.C. § 1997e applies only to court

appointed counsel, and he is entitled to attorney’s fees at higher rates varying from

$200 to $350. He cites no authority in support of this proposition. To the contrary, the

statute expressly states that “[n]o award of attorney’s fees” shall exceed the specified

rates. The “court-appointed counsel” language merely identifies the relevant rate

referenced in 18 U.S.C. § 3000A.

III.   The Lodestar Calculation

 Time Period            Hours                      Rate                  Total
 4/20/2000              1.75                       $75 (out of court     $131.25
                                                   services)
 7/17/2008-             83.6                       $150                  $12,540
 3/10/2009
 3/13/2009-             25.7                       $165                  $4,240.50
 12/11/2009
 8/9/2010-8/19/2010     4 (Reply to Def.’s Opp.)   $187.50               $750
                                                           Total Fees:   $17,661.75

IV.    Judgment Off-Set

       The PLRA requires the court to apply a portion of the judgment, not to exceed

25%, to satisfy the award of attorney’s fees. 42 U.S.C. § 1997e(d)(2). This is not a

mandate that the entire fee award, subject to the 25% limitation, be paid out of the

judgment. Parker v. Conway, 581 F.3d 198, 204-05 (3d Cir. 2009). Rather, the

determination as to how much of the award is paid out of the judgment is a matter of

discretion. Id. Defendants did not ask for any such offset in their briefing, so the court

applies the minimum $1 of the judgment toward the award of attorney’s fees.


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V.    Conclusion

      Plaintiff’s motion for attorney’s fees (Docket # 568) is ALLOWED, to the sum of

$17,661.75 with $1 of the award to be satisfied from his judgment.




      November 29, 2010                               /s/Rya W. Zobel
         DATE                                          RYA W. ZOBEL
                                               UNITED STATES DISTRICT JUDGE




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